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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR PRESIDENT,       )     CIVIL ACTION No. 2-20-cv-966
INC. ; et al. ,                      )
                                     )
           Plaintiffs,               )
                                     )
     v.                              )
                                     )
KATHY BOOCKVAR, in her capacity as   )
Secretary of the Commonwealth of     )
Pennsylvania al. , ,                 )
                                     )
            Defendants.
                                     )
                                     )


BRIEF IN SUPPORT OF MOTION TO INTERVENE AS DEFENDANTS BY CITIZENS
            FOR PENNSYLVANIA’S FUTURE AND SIERRA CLUB
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I.      INTRODUCTION

        Citizens for Pennsylvania’s Future (“PennFuture”) and the Sierra Club (together

“Applicants”) by and through the undersigned counsel, respectfully submit this brief in support of

their motion to intervene as a defendant in this action. Applicants seek to intervene as of right

under Rule 24(a)(2) of the Federal Rules of Civil Procedure or, in the alternative, permissively

under Rule 24(b)(1)(B).

        Plaintiffs attack several protections that Pennsylvania has had in place to provide its voters

with a safe voting experience, as well as measures recently adopted to keep voters safe during a

pandemic. Ironically, Plaintiffs seek to reduce the choices Pennsylvania voters have to vote while

staying close to home, but increase the choices that outsiders have to harass and intimidate those

voters. The policies at issue are a matter of great public importance to all Pennsylvania voters,

Democrats, Republicans and independents, and the named Defendants cannot fully and adequately

protect all the voters and the organizations that represent them.

        Plaintiffs, including the Republican National Committee, President Trump’s reelection

campaign, and four members of Congress, have sued Commonwealth Secretary Boockvar and all

of Pennsylvania County Boards of Election regarding the administration of Act 77 (enacted in

2019 as Act 2019-77) which allows all Pennsylvania voters to vote by mail, and several provisions

concerning poll watchers under Election Code Sections 102(q), 417 and 1308(g). Plaintiffs seek

sweeping relief predicated on the false premise that voting by mail “invites fraud, and undermines

the public’s confidence in the integrity of elections.” See Compl. ¶ 63. Notably, Plaintiffs do not

acknowledge—much less attempt to mitigate—the harms that would result if they were successful

in their lawsuit.

        As a nonprofit, non-partisan, organizations, Applicants are not aligned with either political

party. PennFuture is dedicated to advocating for just environmental policies that protect the air,
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land, and water in Pennsylvania, including by working to enable and empower Pennsylvanians’

participation in the electoral process. See Decl. of Jacquelyn Bonomo in Support of Mot. to

Intervene, Exhibit A, (hereinafter “Bonomo Decl. ”) ¶ 3. The Sierra Club is dedicated to exploring,

enjoying, and protecting the wild places of the Earth; to practicing and promoting the responsible

use of the Earth’s ecosystems and resources; to educating and enlisting humanity to protect and

restore the quality of the natural and human environment; and to using all lawful means to carry

out these objectives. See Decl. of Jennifer Hensley in Support of Mot. to Intervene, Exhibit B,

(hereinafter “Hensley Decl.”) ¶ 4. The Sierra Club works to advance this mission by encouraging

and enabling diverse citizens who seek to protect the environment and enact climate policy reforms

to participate in the democratic process. Id. ¶ 5. This year, Applicants’ voter education efforts have

and will focus on informing voters about how to request and cast their ballots by mail so that voters

may safely exercise their right to vote during the Covid-19 pandemic. Id. ¶ 10.

        Plaintiffs’ lawsuit seeks to impose unnecessary burdens on Pennsylvanians’ ability to vote

that will increase risk to voters and, as a result, is a direct threat to Applicants’ interests. First,

Plaintiffs’ attempt to delegitimize vote-by-mail in Pennsylvania by imagining a novel

constitutional barrier to vote-by-mail. This runs contrary to Applicants’ goals of creating broader

access to the democratic process through, among other things, expanding access to and use of mail

ballots. Second, Plaintiffs’ attempt to limit the means of returning mail ballots; the Plaintiffs’ relief

would require some voters to travel long distances or incur expense to have their ballot counted.

This would directly undermine Applicants’ efforts to use mail ballots as a turnout tool among

registered voters in Pennsylvania. Third, Plaintiffs attempt to eliminate longstanding measures

under Pennsylvania law that protect Pennsylvania voters against intimidation and harassment by

outside interlopers. If successful, Plaintiffs would undercut Applicants’ efforts to encourage
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traditionally marginalized community members to participate in the political process because they

are disproportionately harmed by climate impacts and are forceful advocates for climate policy

reform and environmental justice. Fourth, Plaintiffs attempt to limit which government actors can

take proactive steps to increase participation and access. This is at odds with PennFuture’s model

of promoting election and other reforms among a diverse array of governmental actors at all levels

of government, and could undermine the authority of redistricting commissions that the Sierra

Club has successfully campaigned for in Michigan and Missouri.

       If Plaintiff were successful in this lawsuit, Applicants’ past, present, and future efforts of

engaging and activating voters would be undermined. Additionally, the accompanying loss of

political strength would impair Applicants’ ability to lobby and seek political support for their

environmental objectives. Applicants would have to divert resources to pivot to a new strategy for

making sure that their voters, and the agenda they advocate for, are heard in this election. As set

forth below, Applicants meet the standards for both intervention as of right and permissive

intervention. PennFuture and Sierra Club therefore request their motion to intervene be granted as

of right under Rule 24(a) or alternatively, by permission under Rule 24(b).

II.    DESCRIPTION OF PROPOSED INTERVENOR-DEFENDANTS.

       A.      PennFuture.

       Created in 1998, PennFuture is a non-profit, nonpartisan 501(c)(3) advocacy

organization. Bonomo Decl. ¶ 3. PennFuture advocates for just environmental and climate

policies in Pennsylvania by working to promote civic engagement among Pennsylvanians,

including through programs focused on increasing voter participation in traditionally

underrepresented communities and environmental justice communities. Id. PennFuture is the

state affiliate of the National Wildlife Federation and is a strategic partner of the Conservation

Voters of Pennsylvania. Id. ¶ 5. It is also the state lead for the Choose Clean Water Coalition and
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the Coalition for the Delaware River Watershed, is a member of the Growing Greener Coalition

and the Clean Power Coalition, and works with the Fair Districts PA Coalition and Pennsylvania

Voice. Id. PennFuture has staff located throughout the state, including in Harrisburg,

Philadelphia, Pittsburgh, Mount Pocono, and Erie, and serves more than 915 members, including

many eligible and registered voters. Id. ¶¶ 4, 6.

        PennFuture works to achieve its goal of empowering traditionally underrepresented

communities in the electoral process by engaging in voter-education, outreach, and registration

programs focused on these communities, id. ¶¶ 7-10, and advocating for easing the burdens on

voting, including promoting expansion of access to and use of mail ballots, id. ¶¶ 7, 11-12.

        As part of its education and outreach efforts, the organization has a budget of $93,400 for

radio and digital advertisements targeted at the Black and Latinx communities in Pennsylvania

encouraging people to vote, and commissioned an art piece in Allentown, Pennsylvania

displaying a message in Spanish encouraging community members to register and vote. Id. ¶ 8.

The organization also employs dedicated voter engagement staff and pays contract employees to

reach out to eligible Pennsylvanians reminding them to register to vote, to exercise their votes,

and how to vote safely. Id. ¶ 9. PennFuture’s budget and plan call for significant expansion of

these efforts leading up to the November election. Id. Through these efforts, PennFuture has a

goal of reaching at least 50,000 eligible Pennsylvania voters and registering at least 500 new

voters prior to the election. Id. ¶ 10.

        With respect to its advocacy efforts, PennFuture successfully lobbied the Pennsylvania

General Assembly for the passage of Act 77, one of the pieces of legislation challenged by

Plaintiffs’ lawsuit in this case, which allowed for no-excuse vote-by-mail, significantly eased the

burden of casting a ballot by mail, and extended the deadline to register to vote from 30 days to
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15 days before the election. Id. ¶ 12. PennFuture’s advocacy efforts are not limited to the state

General Assembly, but also extend to local officials throughout the state. Id. In addition,

PennFuture has partnered with other organizations, such as Pennsylvania Voice to work toward

democracy reform because of its belief that free, fair, and accessible elections—in which all of

Pennsylvania’s diverse voters can participate and safely cast their ballots—are essential to

achieving the organization’s environmental policy goals. See id. ¶¶ 3, 9. Indeed, one pillar of

PennFuture’s strategic plan is to support environmental advocates in traditionally

underrepresented communities in building power, and to do so by increasing voter participation.

Id. ¶¶ 3, 7. 1

        In light of the current pandemic and public health crisis, PennFuture believes that

increasing eligible Pennsylvanians’ access and ability to cast their ballots by mail is one of the

two most important issues in effectuating its goal of increasing voter turnout among historically

underrepresented communities in the 2020 General Election (along with voter registration);

accordingly, PennFuture has been taking active steps to educate and encourage voters to vote by

mail. Id. ¶ 11. Indeed, mail voting surged in Pennsylvania’s June primary as voters opted to cast

their ballots closer to home during the pandemic.2 That is why a focus of PennFuture staff

members, phone banker contractors, and other volunteers’ outreach efforts will be on educating

voters about requesting and casting their ballots by mail in the 2020 General Election. Id.

PennFuture is currently fundraising to expand its resources to effectively educate and advocate



1
  See also PennFuture, Strateigic Plan 2019-2022,
https://www.pennfuture.org/Files/Admin/PennFuture_StrategicPlan_2019-22-%289%29.pdf
2
  More than 1.8 million Pennsylvania voters requested mail ballots for the June primary — almost
17 times the 107,000 requests made in the 2016 primary. See Jonathan Lai, Pennsylvania held an
election. We won’t know the results for days. Here’s what that means for November, Phil. Inquirer
(June 2, 2020), https://www.inquirer.com/politics/election/pa-2020-primary-election-results-mail-
ballots-20200602.html.
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for Pennsylvanians to vote-by-mail within the state in light of the pandemic and public health

concerns raised by in-person voting. Id.

        B.      Sierra Club.

        Founded in 1892, the Sierra Club is a 501(c)(4) non-profit, nonpartisan advocacy

organization incorporated and headquartered in California. Hensley Dec. ¶¶ 3-4. The Sierra Club

has 67 chapters nationwide and approximately 799,000 members dedicated to exploring,

enjoying, and protecting the wild places of the Earth; to practicing and promoting the responsible

use of the Earth’s ecosystems and resources; to educating and enlisting humanity to protect and

restore the quality of the natural and human environment; and to using all lawful means to carry

out these objectives. Id. ¶ 4.

        In furtherance of this mission, the Sierra Club’s democracy team works to encourage and

enable diverse citizens seeking to protect the environment and enact climate policy reforms to

participate in the democratic process. Id. ¶ 5. The Sierra Club, with its state chapters across the

country, advocates in support of policies that expand access to the ballot and that make elected

leaders more accountable to the public, and against policies that make it harder for voters to cast

their ballots. Id. ¶ 6. On a nonpartisan basis, the Sierra Club also endorses candidates and makes

recommendations to its members identifying local, state, and national candidates who are likely

to support the environmental and climate policy reforms that align with the organization’s

mission. Id. ¶ 7.

        The Sierra Club believes that a strong democracy in Pennsylvania requires participation

from citizens across the Commonwealth and that voters must be able to participate in democracy

this year while staying safe. Id. ¶ 11. To make sure that Americans can vote safely during the

Covid-19 pandemic without putting their personal health at risk, this year, the Sierra Club has

devoted resources to educating voters about mail voting. Id. ¶ 10.
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        The Sierra Club plans to roll out a state-by-state messaging campaign later this year to

educate voters on the policy changes in their states with respect to mail voting and to provide

information on how voters can cast mail ballots for the November election. Id. ¶ 9. In particular,

the Sierra Club is working to ensure that voters in poor and minority communities—which have

the highest pollution burdens and face the greatest risk from Covid-19—can vote by mail or can

take the necessary precautions if they must cast their ballots in person. Id. ¶ 12.

        The Sierra Club’s Pennsylvania Chapter has offices in Harrisburg, Pittsburgh,

Philadelphia, and Lehigh Valley, along with nine active regional groups all across the state. Id.

¶ 13. The Pennsylvania Chapter has approximately 32,000 members and between 130,000 and

140,000 constituents. Id. ¶¶ 14-15. Like PennFuture, the Pennsylvania Chapter of the Sierra Club

is a member of the Fair Districts PA Coalition. Id. ¶ 18.

        This year, after the passage of Act 77, the Pennsylvania Chapter sent an email to its

constituents (and later posted a message on its website) explaining how Pennsylvanians could

cast a mail in ballot for the June 2, 2020 primary, advising constituents about mail voting

deadlines, and emphasizing the importance of voting by mail during the pandemic.3 Id. ¶ 19. The

Pennsylvania Chapter plans to send similar additional messaging to its constituents for the

November election. Id. ¶ 20. In addition, the Pennsylvania Chapter held a meeting earlier this

year with a group of volunteers and residents, comprised of primarily Black and low income

Pittsburgh residents, to offer information on vote-by-mail and how members could request and

cast their mail ballots. Id. ¶ 21.




3
  See Jen Quinn, Vote By Mail In PA, Sierra Club Pennsylvania Chapter Blog (May 12, 2020)
https://www.sierraclub.org/pennsylvania/blog/2020/05/vote-mail-pa.
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III.    ARGUMENT

        A.      The Court Should Grant Intervention As Of Right Under Rule 24(a)(2).

        The Third Circuit has established a three-part test for when a court must allow intervention

as of right under Rule 24(a)(2) of the Federal Rules of Civil Procedure. Specifically, a party may

intervene by right if it demonstrates: “(1) a sufficient interest in the litigation; (2) a threat that the

interest will be impaired or affected, as a practical matter, by the disposition of the action; and

(3) that its interest is not adequately represented by the existing parties to the litigation.”

Commonwealth of Pennsylvania v. President United States of America, 888 F. 3d 52, 57 (3d Cir.

2018) (quotation marks and citation omitted). Applicants satisfy each part of the Third Circuit’s

test for as of right intervention, particularly when considered (as the Third Circuit requires) with a

liberal construction in favor of intervention. Consequently, this Court should permit PennFuture

and Sierra Club’s intervention as of right.

                1.      Applicants Have A Significant Interest In The Outcome Of This Litigation.

        An applicant’s right to intervene is conditioned on having “an interest that is specific to

them, is capable of definition, and will be directly affected in a substantially concrete fashion by

the relief sought.” Kliessler v. United States Forest Serv. , 157 F. 3d 964, 972 (3d. Cir. 1998). An

intervenor must show it has “a cognizable legal interest, and not simply an interest of a general

and indefinite character.” Pennsylvania, 888 F. 3d at 58 (quotation marks and citation omitted).

“An applicant must therefore demonstrate that its interest is ‘specific to [it], is capable of

definition, and will be directly affected in a substantially concrete fashion by the relief sought.’”

Id. (quoting Kliessler, 157 F. 3d at 972).

        Applicants have strong interests in this litigation, sufficient to meet the requirements of

Rule 24(a). As a part of its core goal of promoting Pennsylvania’s ability to adopt just

environmental and climate policies by empowering traditionally underrepresented communities,
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PennFuture has an interest in ensuring that all eligible persons have equal opportunity to register

to vote, can safely and accessibly vote for the candidate of their choice, and ensure that their vote

has been counted. To this end, PennFuture advocated for the passage of Act 77, which

significantly eased the burden of casting a ballot by mail. Bonomo Decl. ¶ 12. PennFuture is also

an advocate for increased vote-by-mail access particularly during this election cycle to ensure

that vulnerable voters within underrepresented communities may safely cast their ballot and have

their voices heard. Id. ¶ 11.

       Similarly, the Sierra Club has an interest in making sure that citizens from across the

Commonwealth can participate in the democratic this year while staying safe. Hensley Dec. ¶ 11.

That is why the Sierra Club is working to ensure that voters in poor and minority communities—

which have the highest pollution burdens and face the greatest risk from Covid-19—can vote by

mail or can take the necessary precautions if they must cast their ballots in person. Id. ¶ 12. The

Sierra Club’s Pennsylvania Chapter has already devoted resources to educating voters on

Pennsylvania’s new vote-by-mail system and plans to send additional messages this year to its

tens of thousands of constituents to educate them on how to request and cast their mail ballots.

Id. ¶¶ 19-21.

       Mail ballot drop-boxes are essential to ensuring that these communities can and will cast

their ballots, given that unreliable mail service that is common in poor and minority
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communities4 and lower levels of trust in the Postal Service among voters of color.5 Indeed, a

focus on Applicants’ voter advocacy and education plans for the fall is educating voters about

how they may request and return mailed ballots to ensure that their vote is counted. Hensley Dec.

¶¶ 19-21, 23; Bonomo Decl. ¶ 11. In addition, PennFuture is expending considerable resources to

ensure high voter turnout among eligible Pennsylvanians within these communities, including

through phone-banking and digital and radio advertisements. Bonomo Decl. ¶¶ 8-9.

       Applicants’ interests in empowering traditionally underrepresented communities to

participate in the electoral process alone, including through advocacy for and education about

Act 77 and their current voter outreach efforts, are more than sufficient to satisfy Rule 24(a). See

Pennsylvania, 888 F. 3d 52. In Pennsylvania, this Court permitted a religious group to intervene

based on its interest in preserving its religious exemption, noting that the entities were parties in




4
  See, e.g., Richard L. Hasen, When Is Uniformity of People, Not Counties, Appropriate in Election
Administration? The Cases of Early and Sunday Voting, 2015 U. Chi. Legal F. 193, 209 n.36
(2015) (“[m]any of the people from lower-income backgrounds that I’ve worked with do not trust
voting by mail.” (quotation marks and citation omitted)); Ihaab Syed, How Much Electoral
Participation Does Democracy Require? The Case for Minimum Turnout Requirements In
Candidate Elections, 66 UCLA L. Rev. 2024, 2046 (2019) (“For example, in Maricopa County,
Arizona, 140,000 new voters who registered in advance of the May 2018 primary (as far back as
December 2017) were never mailed voter registration cards”); Dayna Cunningham, Who Are to
Be the Electors? A Reflection on the History of Voter Registration in the United States, 9 Yale L.
& Pol’y Rev. 370, 393 (1991) (“The problem of lower mail delivery and response rates in minority
and poor neighborhoods has been documented. Responses to Internal Revenue and Census forms,
documents that are mailed by the government and to which replies are mandatory, provide useful
models for estimating possible outcomes of voter address verification requests. Both Internal
Revenue data and preliminary survey data regarding the 1990 census suggest that a major
contributor to low response rates in minority communities may be ineffective mail delivery.”)
(citations omitted).
5
  The California Voter Experience Study: A Statewide Survey of Voter Perspectives on Vote-By-
Mail and Vote Centers, The California Voter Experience Study, Issue 3, UC Davis California
Civic Engagement Project (Sept. 2017) at 2
https://static1.squarespace.com/static/57b8c7ce15d5dbf599fb46ab/t/59b1bacc4c0dbf34e91dac0d
/1504819977791/UCDavisCCEPIssueBrief3VoteCenterStatewideSurveyBrief.pdf (finding
voters of color were less likely to trust the Postal Service than white voters).
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prior litigations showing a “unique interest.” Id. at 58. Applicants and their membership benefit

from Act 77 because the law promotes and protects Pennsylvanians’ practical ability to cast their

vote and participate in the electoral process. And Applicants have significant protectable

interests in ensuring that, consistent with the provisions of Act 77, Pennsylvania voters have the

ability to cast their ballots without incurring an unreasonable burden, such as being able to return

a mail ballot to a polling location – a practice Plaintiffs challenge in this case. See id.

        Intervention in voting rights cases is favored, and the courts have routinely allowed it.

See, e. g. , Texas v. United States, 798 F. 3d 1108, 1111 (D. C. Cir. 2015) (allowing intervention

by civil rights advocacy groups among others); Pub. Interest Legal Found. , Inc. v. Winfrey, No.

19-13638, 2020 WL 2781826, at *2 (E. D. Mich. May 28, 2020) (allowing voting rights

organizations to intervene as defendants); Bellitto v. Snipes, No. 0:16-cv-61474, 2016 WL

5118568 (S. D. Fla. Sep. 21, 2016) (allowing intervention by labor union); Kobach v U. S.

Election Assistance Comm’n, No. 13-cv-04095, 2013 WL 6511874 (D. Kan. Dec. 12, 2013)

(allowing non-profits, nonpartisan advocacy groups, and a state senator to intervene); Veasey v.

Abbott, No. 2:13-cv-00193 (S. D. Tex. Sep. 19, 2013), (Doc. 29) (allowing the Texas League of

Young Voters Education Fund, among others, to intervene); LaRoque v. Holder, No. 1:10-cv-

00561 (D. D. C. Aug. 25, 2010), (Doc. 24) (permitting intervention by civil rights organization,

among others). Courts and Congress have often recognized that the right to vote—that is central

to Applicants’ work and the bedrock of American democracy—is “a fundamental right.” 52

U.S.C. § 20501(a)(1). And the Supreme Court has long recognized that voting-related

restrictions implicate “interwoven strands of liberty” that “rank among our most precious

freedoms”: “the right of individuals to associate for the advancement of political beliefs, and the

right of qualified voters, regardless of their political persuasion, to cast their votes effectively.”
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Anderson v. Celebrezze, 460 U. S. 780, 787 (1983) (citations and quotation marks omitted). Such

an interest, and Applicants’ role in furthering it, is more than sufficient to merit intervention.


                2.      The Disposition Of This Action Could Impair Applicants’ Interests.

        In addition to demonstrating an interest in the underlying litigation, intervention should

be granted where the applicant shows that it is “so situated that the disposing of the action may

as a practical matter impair or impede [its] ability to protect its interest . . . .” Fed. R. Civ. P.

24(a)(2). “To meet this requirement, an applicant ‘must demonstrate that [its] legal interests may

be affected or impaired[] as a practical matter by the disposition of the action. ’” Pennsylvania,

888 F. 3d at 59 (quoting Brody ex rel. Sugzdinis v. Spang, 957 F. 2d 1108, 1122 (3d Cir. 1992).

“It is not sufficient that the claim be incidentally affected; rather, there must be a tangible threat

to the applicant's legal interest.” Id. at 1123 (quotation marks and citation omitted). The focus is

on “practical consequences” of the litigation, and the court may “consider any significant legal

effect on the applicant's interest, including a decision’s stare decisis effect or a proposed

remedy's impact on the applicant for intervention.” Id. at 1122 (quotation marks and citation

omitted). Policy preferences can also be considered when there can be possible “subsequent

collateral attacks.” Id. at 1123. Applicants’ interests here will be directly and tangibly impaired

by a disposition in favor of Plaintiffs for several reasons.

        Applicants’ interests in ensuring an open and accessible electoral process and

empowering traditionally underrepresented communities participation in that process would be

severely impaired if Plaintiffs prevail. In particular, Plaintiffs seek a sweeping declaration that

would unnecessarily burden Pennsylvanian voters’ ability to cast mail ballots, and impair their

ability to vote safely in light of the current public health crisis facing the nation. If Plaintiffs are

successful in imposing unnecessary burdens on returning mailed ballots (such as requiring them
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to be returned directly to County Election Boards rather than deposited at a local precinct) and

impeding vote-by-mail, Applicants would be forced to divert resources to develop and execute

new plans to educate voters on how to return mail ballots and to reconfigure their voter

participation program to place additional emphasis on returning mail ballots early and staying

safe while delivering a mail ballot to a County Board. Bonomo Decl. ¶ 15; Hensley Decl. ¶ 25.

       Plaintiffs’ unduly narrow interpretation of the term “legislature” in the Elections Clause,

if adopted, could preclude efforts to reform election laws by state lawmaking bodies and officers

in Pennsylvania and across the country. Plaintiffs’ attempts to limit which government actors can

take proactive steps to increase participation and voter access would undercut PennFuture’s

efforts to promote election and other reforms among a diverse array of actors at all levels of

government, Bonomo Decl. ¶ 12, and could undermine the authority of redistricting commissions

across the country, including the commissions that the Sierra Club successfully campaigned for

in Michigan and Missouri, Hensley Decl. ¶¶ 7, 26.


               3.      The Existing Parties Do Not Adequately Represent the Interests of
                       Applicants.

       The Third Circuit looks to see if the applicant’s “interests are not adequately represented

if they diverge sufficiently from the interests of the existing party, such that ‘the existing party

cannot devote proper attention to the applicant's interests.’” Pennsylvania, 888 F. 3d at 60

(quoting United States v. Territory of the Virgin Islands, 748 F. 3d 514, 520 (3d Cir. 2014).

Under this standard, courts will look at this burden and “generally treat[ it] as minimal” if the

applicant shows that representation of its interest “may be inadequate.” Pennsylvania, 888 F. 3d

at 60 (quotation marks and citation omitted, emphasis in original).

       Though there is a rebuttable presumption that a party’s interest is adequately represented

if one party is a government entity “charged by law with representing the interest of the applicant
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for intervention,” the burden to rebut that presumption varies with each case. Id. (quotation

marks and citation omitted). Where, as here, the government party’s “views are necessarily

colored by its view of the public welfare rather than the more parochial views of a proposed

intervenor whose interest is personal to it, the burden is comparatively light.” Id. at 60-61

(quoting Kleissler, 157 F. 3d at 972). Rule 24 “underscores both the burden on those opposing

intervention to show the adequacy of the existing representation and the need for a liberal

application in favor of permitting intervention.” Nuesse v. Camp, 385 F. 2d 694, 702 (D. C. Cir.

1967). Applicants here easily meet the “minimal” burden of showing that the existing defendants

may not adequately represent its interests. Pennsylvania, 888 F. 3d at 60.

        In this case, while there may be some overlap between the interest of the existing

Defendants (governmental officials and local election boards), other existing or proposed

Intervenors (political parties, broad voter coalitions, and individual voters), and that of

Applicants, each has their own discrete areas of interest, making it far from “undoubted” that the

other defendants would, or are “capable and willing” to, make all of Applicants’ proposed

arguments. Id.

        With regards to the current Defendants, as governmental officials with substantial public

responsibilities and limited resources tied to the public treasury, their positions in this litigation

necessarily turn on their inherent authority and responsibility to properly administer election

laws. These officials may need to take into account their respective offices’ narrow institutional

interests and staff capabilities, and are subject to political pressures that do not align perfectly

given their different constituencies. Because of those institutional interests, the existing

Defendants cannot be expected to focus perfectly on the interests of a groups like PennFuture

and the Sierra Club, or their efforts to protect the environment and reform climate policy by
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empowering traditionally underrepresented groups. Moreover, political forces could affect

Defendants’ defense of the case in ways that are very much in conflict with Applicants’ interests,

particularly in maximizing eligible voter engagement and participation among traditionally

underrepresented communities. To be sure, governmental officials should be responsive to their

constituents, but Applicants will give primacy to the interests of their members and other voters

in a way that governmental officials simply cannot replicate. As one example, Applicants both

believe that Pennsylvania should adopt a universal vote-by-mail system (similar to that used in a

number of states like Colorado, Utah, and Washington) in which all registered voters in the state

would receive a mail ballot, a policy which has not been adopted by Defendants in this action.

Bonomo Decl. ¶ 13; Hensley Decl. ¶ 22.

       Because of their different interests and areas of expertise, courts have recognized in

dozens of cases that governmental parties cannot adequately represent the interests of private

intervenors, even if they take the same position on underlying merits. For example, in Trbovich

v. United Mine Workers, 404 U. S. 528 (1972), the Court allowed a union member to intervene in

an action brought by the Secretary of Labor to set aside union elections for violation of the

Labor-Management Reporting and Disclosure Act of 1959, even though the Secretary was

broadly charged with protecting the public interest. The Court reasoned that the Secretary could

not adequately represent the union member because of their “duty to serve two distinct interests,”

id. at 538, a duty to protect both the public interest and the rights of union members. See also

Kleissler, 157 F. 3d at 967 (concluding a proposed intervenor showed a reasonable doubt that a

government agency would adequately protect its environmental interests); Pennsylvania, 888 F.

3d at 61 (finding that a religious group had a specific interest that was outside of the

government’s more general interest).
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       Applicants are also differently situated to the other existing and proposed defendant-

intervenors. The Pennsylvania State Democratic Party group are partisan political parties and

candidates concerned with ensuring their party members and constituent voters have the

opportunity to vote in the upcoming election, and advancing their overall electoral prospects.

Applicants are not affiliated with any particular political party or group of constituents in the

arguments it may make in this litigation. See Bonomo Decl. ¶ 3; Hensley Decl. ¶ 3. Indeed,

Applicants are seeking to engage and activate individuals who have not already been registered

by the political parties. See Bonomo Decl. ¶¶ 3, 7-10; Hensley Decl. ¶ 12. Moreover, it is not

uncommon for Applicants to have stark policy disagreements with the state democratic party.

Bonomo Decl. ¶ 14; Hensley Decl. ¶¶ 22-23.

       With respect to the other 501(c)(3) proposed intervenors, none of those groups strive to

turn out the voters that are the constituents of Applicants—voters who are especially concerned

about environmental issues. Moreover, PennFuture has made a specific organizational

commitment to register Spanish-speaking and Latino voters, a fast growing constituency in

Pennsylvania,6 see Bonomo Decl. ¶ 8, that has not been the focus of extensive voter engagement

efforts and was not the constituency the other intended intervenors were founded to serve.

       The nature of this litigation could leave Applicants without sufficient time to remedy any

adverse disposition here before critical elections. If the existing parties were to settle or

otherwise reach a resolution on the merits that adversely affected the interests of Applicants and

their members, Applicants could lack meaningful avenues of relief as a non-parties to this case.



6
 From 2010 to 2019, Pennsylvania’s Latino population grew by 273,900, while the state’s overall
population increased by only 90,800. See Jens Manuel Krogstad, Hispanics have accounted for
more than half of total U.S. population growth since 2010, Pew Research Center, (July 10, 2020),
https://www.pewresearch.org/fact-tank/2020/07/10/hispanics-have-accounted-for-more-than-
half-of-total-u-s-population-growth-since-2010/.
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For this reason—and many others—Applicants’ interests are threatened by the relief sought by

Plaintiffs in this action.


                4.       Intervention Is Timely.

        The instant motion is timely under all the circumstances. See Delaware Valley Citizens’

Council for Clean Air v. Pennsylvania, 674 F. 2d 970, 974 (3d Cir. 1982) (presenting three factors

for determining timeliness: how far proceedings have progressed; prejudice caused by a delay and

the reason for the delay). Plaintiffs filed the instant lawsuit on June 29, 2020 and, only served

Defendants on July 6, 2020. See July 2, 2020 Order, Dkt. 7. Pursuant to the Court’s July 17, 2020

Scheduling Order, Defendants have until at least July 24, 2020 to file a responsive pleading. Dkt.

124. The Court has yet to enter any substantive orders in this case, nor have entries of appearance

been filed on behalf of all 68 Defendants.

        Applicants are prepared to meet the schedule set forth in the Court’s July 17 scheduling

order, Dkt. 124, and any other briefing schedule the Court may set for proposed Defendant-

Intervenors.

        B.      Alternatively, Permissive Intervention Is Appropriate To Protect The
                Intervenors’ Interests.

        Applicants satisfy not only the standard for intervention as of right, but also the criteria

for Rule 24(b)(1)(B) permissive intervention. Under that rule, courts may permit intervention

upon “timely motion” where the applicant “has a claim or defense that shares with the main

action a common question of law or fact,” (Fed. R. Civ. P. 24(b)(1)(B)), and must consider

“whether the intervention will unduly delay or prejudice the adjudication of the original parties’

rights,” (Fed. R. Civ. P. 24(b)(3)). According to the Third Circuit, “[a] litigant seeking to

intervene pursuant to Fed. R. Civ. P. 24(a)(2) must establish: (1) a timely application for leave to

intervene, (2) a sufficient interest in the underlying litigation, (3) a threat that the interest will be
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impaired or affected by the disposition of the underlying action, and (4) that the existing parties

to the action do not adequately represent the prospective intervener's interests.” NCAA v. New

Jersey, 520 Fed. Appx. 61, 62 (3d Cir. 2013) (quotation marks and citation omitted).

       As discussed above, Applicants’ motion is timely, and, for the same reasons, their

intervention will not unduly delay or prejudice the adjudication of the original parties’ rights.

Nor do the Applicants present any jurisdictional issues—this Court independently has subject

matter jurisdiction over Applicants under federal question jurisdiction because the dispute

involves a question of constitutional law. The questions of law and fact presented in this action

address the core issues that Applicants seek to litigate. Applicants do not propose to add a

counterclaim or expand the questions presented by the Complaint—in fact, Applicants will

confer with Defendants, existing intervenors, and any other intervenors the court sees fit to

permit to seek to avoid redundant filings before the Court, including in opposition to Plaintiffs’

motion for a preliminary injunction. Furthermore, Applicants will lend their perspectives and

expertise to the case, thereby enhancing development of the relevant issues in the case. See

Miller v. Silbermann, 832 F. Supp. 663, 674 (S. D. N. Y. 1993) (finding permissive intervention

appropriate where the applicants, because of their “knowledge and concern,” would “greatly

contribute to the Court’s understanding” of the case). Accordingly, if the court finds that

Applicants may not intervene as of right, Applicants respectfully request that the Court allow

intervention under Rule 24(b).


IV.    CONCLUSION

       For the above and foregoing reasons, Applicants respectfully request that the Court grant

their motion to intervene in this action as defendants. If the Court believes it would assist with

the management of this case, Applicants’ counsel have a long history of working cooperatively
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with counsel for the other intervenors and have no objection to coordinating discovery efforts

and briefing to reduce duplication of efforts.


                                                 Respectfully submitted,

                                                 /s/ Charles A. Pascal, Jr.

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                                                 Defendants
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                                CERTIFICATE OF SERVICE

      I hereby certify that on this date, the foregoing Motion to Intervene, Proposed Order,

Memorandum in Support, and exhibits thereto were filed electronically and served on all counsel

of record via the ECF system of the U. S. District Court for the Western District of Pennsylvania.



Dated: July 20, 2020




                                                    Respectfully submitted,

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